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 4   rsp@rspollocklaw.com
 5   Attorney for Defendant
     PETER SANTO CAPODIECI
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                          FRESNO DIVISION
11                                                  –ooo–
12
13   UNITED STATES OF AMERICA,                         Case No. 1:14-cr-00228-LJO-SKO-3

14                    Plaintiff,                       STIPULATION AND ORDER TO
                                                       MODIFY DATE FOR FILING DEFENSE
15   vs.                                               OBJECTIONS TO PRESENTENCE
                                                       INVESTIGATION REPORT
16
     PETER SANTO CAPODIECI,
17
                      Defendant.
18                                              /

19
            IT IS HEREBY STIPULATED by and between the parties through their respective
20
     counsel, Grant B. Rabenn, Assistant United States Attorney, and Randy Sue Pollock, counsel for
21
     defendant Peter Santo Capodieci, that the due date to file defense objections to the Presentence
22
     Investigation Report, currently June 10, 2016, be modified to June 17, 2016. Defense counsel
23
     requests additional time to file objections due to a Northern District jury trial, U.S. v. Cervantes,
24
     CR12-0792 YGR, currently underway before the Honorable Yvonne Gonzalez Rogers.
25   Date: June 7, 2016                             /s/RANDY SUE POLLOCK
26                                                  RANDY SUE POLLOCK

27   Date: June 7, 2016                             /s/ GRANT B. RABENN
                                                    GRANT B. RABENN
28



     STIPULATION AND ORDER TO MODIFY DATE TO FILE DEFENSE OBJECTIONS TO PSR                              1
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 1                                               ORDER
 2          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant Peter
 3   Capodieci’s objections to the Presence Investigation Report be filed by June 17, 2016.
 4
     IT IS SO ORDERED.
 5
 6      Dated:    June 8, 2016                            /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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     STIPULATION AND ORDER TO MODIFY DATE TO FILE DEFENSE OBJECTIONS TO PSR                   2
